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                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                               BOWLING GREEN DIVISION
                        CIVIL ACTION NO. 1:18-CV-00039-GNS-HBB


 AMITY M. KOCH                                                                  PLAINTIFF

 v.

 THAMES HEALTHCARE GROUP, LLC                                                  DEFENDANT


                                           JUDGMENT

        This matter having come before the Court on Defendant’s Motion for Summary

 Judgment (DN 24), and the Court on this date having issued its Memorandum Opinion and Order

 granting the motion.

        IT IS HEREBY ORDERED that judgment be entered in favor of Defendant Thames

 Healthcare Group, LLC consistent with the Court’s Memorandum Opinion and Order.

        This is a final and appealable order.




                                                              March 31, 2020


 cc:    counsel of record
